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'A0 245B      (Rev. 06/05) Judgment in a Criminal Case
              Sheet I



                                         UNITED STATES DISTRICT COURT
                        MIDDLE                                     District of                                    ALABAMA
         UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                    V.
      CATORIE VERKESHA ANDERSON
        a/k/a CATORIA V. ANDERSON                                          Case Number                          2:07CR212-MEF-01

                                                                           USM Number:                          12300-002

                                                                           Michael J. Petersen
                                                                           Defendant's Attomey
THE DEFENDANT:
X pleaded guilty to count(s)        1 of the Indictment on 12/14/2007
Li pleaded nob contendere to count(s)
   which was accepted by the court.
[II] was found guilty on count(s)      -
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                              Offense Ended            Count

18:371                           Conspiracy to Defraud the United States                                        9/16/2005




       The defendant is sentenced as provided in pages 2 through                  5       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
LiThe defendant has been found not guilty on count(s)            ____________________________________________
X Count(s) 2-4 of the Indictment                         Li is     X are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           March 27, 2008
                                                                           Date of Imposition oJ1Jidgmej....._..__,



                                                                           Signature




                                                                           MARK E. FULLER, CHIEF U.S. DISTRICT JUDGE
                                                                           Name and Title of Judge


                                                                                  1- Arn.-
                                                                           Date
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AO 245B      (Rev. 06/05) Judgment in a Criminal Case
             Sheet 4—Probation
                                                                                                            Judgment—Page      2     of        5
DEFENDANT:   CATORIE VERKESHA ANDERSON a/k/a CATORIA V. ANDERSON
CASE NUMBER: 2:07CR212-MEF-01
                                                                 PROBATION
The defendant is hereby sentenced to probation for a term of:

Four (4) years.




The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
fl The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
LI The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
LI The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ,personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 2458   (Rev. 06/05) Judgment in a Criminal Case
          Sheet 4C - Probation
                                                                                       Judgment—Page   3     of        5
DEFENDANT:   CATORIE VERKESHA ANDERSON a/k/a CATORLA V. ANDERSON
CASE NUMBER: 2:07CR212-MEF-01

                                        SPECIAL CONDITIONS OF SUPERVISION

Defendant shall provide the probation officer any requested financial information.
Defendant shall not obtain new credit without approval of the Court unless in compliance with the payment schedule.
Defendant shall participate in the home confinement program, with electronic monitoring, for a period of six months,
to begin at a time designated by the probation officer following this hearing. Defendant shall follow the procedures
specified by the probation officer and pay the cost of electronic monitoring.
Defendant shall submit to a search of her person, residence, office or vehicle pursuant to the search policy of this
Court.
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AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                      Judgment - Page     4      of       5
DEFENDANT:                         CATORIE VERKESHA ANDERSON a/k/a CATORIA V. ANDERSON
CASE NUMBER:                       2:07CR212-MEF-01
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                         Fine                               Restitution
TOTALS             $ 100.00                                            $0                                $ 4,000.00


U The determination of restitution is deferred until _______. An Amended Judgment in a Criminal Case (AU 245C) will be entered
   after such determination.

U The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                  Total Loss*                      Restitution Ordered                     Priority or Percentage

FEMA                                                                                          4,000.00
P.O. Box 70941
Charlotte, NC 28272-0941
do Catorie Anderson
(Court Ordered Restitution)
FEMA ID: XX-XXXXXXX
Disaster #: 1604




TOTALS                               $                             0        $                     4000


U Restitution amount ordered pursuant to plea agreement $

U The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
    fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
    to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     X the interest requirement is waived for the             U fine X restitution.
      U the interest requirement for the              U fine U restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                          Judgment - Page     5      of      5
DEFENDANT:   CATORIE VERKESHA ANDERSON a/k/a CATORIA V. ANDERSON
CASE NUMBER: 2:07CR212-MEF-01

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A x Lump sum payment of $ 4,100.00                           due immediately, balance due

           LI not later than __________________________ , or
           x in accordance         LI C, [I] D, LI E, or x F below; or

B LI Payment to begin immediately (may be combined with LI C,                         LI D, or      ] F below); or

C LI Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $ _____________ over a period of
       ____________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

D LI Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $ _____________ over a period of
    ____________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after release from imprisonment to a
     term of supervision; or

E LI Payment during the term of supervised release will commence within ____________ (e.g., 30 or 60 days) after release from
     imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F X Special instructions regarding the payment of criminal monetary penalties:

           Criminal monetary payments shall be made payable to the Clerk, U.S. District Court, Middle District of Alabama, P.O.
           Box 711, Montgomery, AL 36101.
           Any balance remaining at the start of supervision shall be paid at the rate not less than $100.00 per month.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



LI Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




LI The defendant shall pay the cost of prosecution.

LI The defendant shall pay the following court cost(s):

LI The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
